Case 8-18-74122-reg Doc 13 Filed 08/23/18 Entered 08/23/18 16:29:03

IN THE UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

ln l‘€f Cage NQ_ 18-bk-74122
Eduardo A. Vargas

 

Chapter 7

Debtor(s).
x

 

AFFI])AVIT PURSUANT TO LOCAL RULE 1009-1(21)

 

Eduardo A. Vargas , undersigned debtor herein, swears as follows:

l. Debtor filed a petition under chapter L of the Bankruptcy Code on Juné 10, 2018 .
Z. Amendments to Schedules D & l previously filed herein.
3. The specific additions or corrections to the affected schedule(s) are a change in the name of the secured creditor

from ClTlmortgage to Mr. Cooper on Schedule D and the nature of the change to Schedule I is indicated as the
identification of a second job for Which the debtor is employed

4. An amended mailing matrix Was annexed to the Amended Schedules, listing added creditors ONLY, in the format
prescribed by Local Rule lOO7-2(b)(i).

    
 
 

 

 

 

 

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NOTARY PUBLIC AHN
, STATE OF NEW YORK
R¢gisuan'on No_ 01WE@333047 /S/ Eduard° A' Var as
Qualified in Nassau County Edua"d° A- Varga$
Commisslon Expires Novcmbcr 16, 20|9 , Debtor (Sl‘gna;w,e)
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day of@z/§%ZAF 9»5)/?_

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Notary Public, State of NeW York

Reminder: N0 amendment of schedules is effective until proof of service in accordance with EDNYLBR 1009~1([)) has
been filed with the Court.

lf this amendment is filed prior to the expiration of the time period set forth in Fed. R. Bankr. P. 4004 and 4007, it Will be
deemed to constitute a motion for a 30-day extension of the time Within Which any added creditors may file a complaint to
object to the discharge of the debtor and/or to determine dischargeability This motion Will be deemed granted Without a
hearing if no objection is filed With the Court and served on debtor Within lO days following filing of proof of service of
this affidavit, all attachments and the amended schedules in accordance With EDNY LRB 1009-1.

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